Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 1 of 47

FEDERAL EMERGENCY MANAGEMENT AGENCY
TASK ORDER
1. NAME AND ADDRESS OF GONTRACTOR 2. CONTRACT NUMBER 4. REQUISITION NUMBER
SHAW ENVIRONMENTAL, INC HSPEHQ-05-0-0573 TNOOLIEY200ET
TREE’
eo 3. TASK ORDER NUMBER 6. ORGANIZATION
ALEXANDRIA VA 223143470
HS FEHQ-05-7-0015 Recovery
6. NAME OF PROJECT OFFICER

7. NAME OF PROJECT MONITOR
David Porter

8. ACCOUNTING AND APPROPRIATION DATA

see Continuation Page

9, WORK DETAILS

This is an unpriced {letter contract) task order. See continuation pages for terms and conditions.

10. THIS TASK ORDER IS ISSUED PURSUANT TO THE PROVISION OF SECTION G.3 OF THE SUBJECT CONTRACT.
TYPED NAME OF SIGNATURE OF ORDERING/CONTRACTING OFFICER: DATE:
ORDERING/CONTRACTING OFFICER;
Nancy A. Costello Pravey Za (guile, /0f2fo >
FEMA Form 40-20, SUN 97 REPLAGES ALL PREVIOUS EDITIONS
CONFIDENTIAL

6699 SHAW 000633
Case 2:07-md-01873-KDE-MBN

CONTINUATION PAGE
A.1 PRICE/COST SCHEDULE
ITEM DESCRIPTION OF QTY
no, SUPPLIES/SERVICES
0001 1.00

Document 10941-5 Filed 02/01/10’ Page 2 of 47

UNIT UNIT

PRICE

S25 saree

AMOUNT

Work shall be performed in accordance
with the attached Statement of Work

FUNDING/REQ NO:

ACCOUNTING AND APPROPRIATION DATA:
ACRN APPROPRIATION

1 2006~-06-1603DR-9064-

CONFIDENTIAL

1: SQOEE

~2591-D

TNOOL26Y2006T
GRAND TOTAL ~-- a
REQUISITION NUMBER AMOUNT
TNOO126Y2006T Pp Seana

SHAW 000634

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 3 of 47

TASK ORDER TERMS AND CONDITIONS
NOT SPECIFIED IN THE CONTRACT

1. The contractor shall provide all necessary personnel, materials, services, equipement and facilities and otherwise do
all things necessary to provide the services described in the Statement of Work attached.

2. This is a task order for essential services as described in the attached Statement of Work for the period beginning
September 12, 2005 through January 15, 2006. Pre-Authorization to incur costs prior to the date of task order was given
by pre-authorization letters dated September 12, 2005 and September 30, 2005 for the period September 12, 2005 through
January 15,2006. The amount of pre-authorization through January 15, 2006 is Soe, for pre-award costs, which
exceeds the amount authorized under this task order.

3. It is anticipated that a Cost-Plus-Fixed-Fee (CPFF) type task order will be negotiated.
4. Deliverables and work products required under this task order are listed in the Statement of Work, attached.
5. The period of performance of this task order is September |2, 2005 through January 15, 2006.

6. The not-to-exceed Cost-Plus-Fixed-Fee value of this order is SNMMREB, which includes estimated cost of
SEE aid fixed fee of SA.

7, The amount obligated to this order in accordance with the Limitation of Government Liability clause FAR 52.216-24
is

8. In addition to the clauses under the basic contract, the following clauses are incorporated into this task order until
definitization of the order occurs,

52,.216-24, LIMITATION OF GOVERNMENT LIABILITY (APR 1984)

(a) In performing this contract, the Contractor is not authorized to make expenditures or incur obligations exceeding

(b) The maximum amount for which the Government shail be liable if this contract is terminated is RE

52.216-25, CONTRACT DEFINITIZATION (OCT 1997) .
(a) A Cost-Plus-Pixed-Fee definitive task order is contemplated. The Contractor agrees to begin promptly negotiating

with the Contracting Officer the terms of a definitive contract that will include (1) all clauses required by the Federal

Acquisition Regulation (FAR) on the date of execution of the letter contract, (2) all clauses required by law on the date of

execution of the definitive contract, and (3) any other mutually agreeable clauses, terms, and conditions. The Contractor
agrees to submit a proposal and cost or pricing data supporting its proposal.

(b) The schedule for definitizing this contract is:

(1) Proposal due October 4, 2005; (2) Negotiations on or before October 25, 2005; (3) Definitization within 5 days of
agreement;

(c) Ifagreement on a definitive IDIQ contract to supersede this letter contract is not reached by the target date in
paragraph (b) above, or within any extension of it granted by the Contracting Officer, the Contracting Officer may, with

Page 3

CONFIDENTIAL SHAW 000635

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 4 of 47

the approval of the head of the contracting activity, determine a reasonable price or fee in accordance with Subpart 15.8
and Part 3 | of the FAR, subject to Contractor appeal as provided in the Disputes clause. In any event, the Contractor shall
proceed with completion of the contract, subject only to the Limitation of Government Liability clause.

(1) After the Contracting Officer's determination of price or fee, the contract shall be governed by--

(i) All clauses required by the FAR on the date of execution of this letter contract for either fixed-price or cost-
reimbursement contracts, as determined by the Contracting Officer under this paragraph (c);

(ii) All clauses required by law as of the date of the Contracting Officer's determination; and
(iii) Any other clauses, terms, and conditions mutually agreed upon.

(2) To the extent consistent with subparagraph (c)(!) above, all clauses, terms, and conditions included in this letter
contract shall continue in effect, except those that by their nature apply only to a letter contract,

52.216-26 PAYMENTS OF ALLOWABLE COSTS BEFORE DEFINITIZATION (DEC 2002)

(a) Reimbursement rate. Pending the placing of the definitive contract referred to in this letter contract, the
Government will promptly reimburse the Contractor for all allowable costs under this contract at the following rates:

(1) One hundred percent of approved costs representing financing payments to subcontractors under fixed-price
subcontracts, provided that the Government's payments to the Contractor will not exceed 80 percent of the allowable costs

of those subcontractors.

(2) One hundred percent of approved costs representing cost-reimbursement subcontracts; provided, that the
Government's payments to the Contractor shall not exceed 85 percent of the allowable costs of those subcontractors.

(3) Eighty-five percent of all other approved costs.

(b) Limitation of reimbursement. To detesmine the amounts payable to the Contractor under this letter contract, the
Contracting Officer shall determine allowable costs in accordance with the applicable cost principles in Part 3! of the
Federal Acquisition Regulation (FAR). The total reimbursement made under this paragraph shall not exceed 85 percent
of the maximum amount of the Government's liability, as stated in this contract.

(c) Invoicing. Payments shall be made promptly to the Contractor when requested as work progresses, but (except for
small business concems) not more often than every 2 weeks, in amounts approved by the Contracting Officer, The
Contractor may submit to an authorized representative of the Contracting Officer, in such form and reasonable detail as
the representative may require, an invoice or voucher supported by a statement of the claimed allowable cost incurred by
the Contractor in the performance of this contract.

(d) Allowable costs. For the purpose of determining allowable costs, the term “costs” includes~

(1) Those recorded costs that result, at the time of the request for reimbursement, from payment by cash, check, or
other form of actual payment for items or services purchased directly for the contract;

(2) When the Contractor is not delinquent in payment of costs of contract performance in the ordinary course of
business, costs incurred, but not necessarily paid, for-

(i) Supplies and services purchased directly for the contract and associated financing payments to subcontractors,
provided payments determined due will be made-

(A) in accordance with the terms and conditions of a subcontract or invoice; and

Page 4

CONFIDENTIAL SHAW 000636

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 5 of 47

(B) Ordinarily within 30 days of the submission of the Contractor's payment request to the Government; (ii)
Materials issued from the Contractor's stores inventory and placed in the production process for use on the contract;

(iii) Direct labor;
(iv) Direct travel;
(v) Other direct in-house costs; and

(vi) Properly allocable and allowable indirect costs as shown on the records maintained by the Contractor for
purposes of obtaining reimbursement under Government contracts; and

(3) The amount of financing payments that the Contractor has paid by cash, check, or other forms of payment to
subcontractors.

(e) Small business concerns. A small business concern may receive more frequent payments than every 2 weeks.

(f) Audit. At any time before final payment, the Contracting Officer may have the Contractor's invoices or vouchers
and statements of costs audited. Any payment may be (1) reduced by any amounts found by the Contracting Officer not
to constitute allowable costs or (2) adjusted for overpayments or underpayments made on preceding invoices or vouchers.

PETERS HERES ERE EE ERE REENID OF TERMS AND CONDITIONS * #48 48444408 eeEEERE

Page 5

CONFIDENTIAL SHAW 000637

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 6 of 47

Contract No. HSFEHQ-05-D-0573 Task Order No. HSFEHQ-05-3-0015

STATEMENT OF WORK
Site Inspection, Assessment, and Installation - Direct Assistance
(Shaw-Task Order-0015)

1 General Provisions

1.1 Disaster Iuformation

Disaster: 1603
State: Louisiana

Joint Fleld Office Information:

Address: Housing Area Command
MMR Construction
15961 Airline Hwy
Baton Rouge, LA 70817

JFO Point of Contact: David Porter, COTR
Phone: 202-438-1294
Email: david.porter@dhs. gov

Counties: State of Louisiana.

2 Operational Objective: Identify and provide temporary housing solutions for all
people displaced because of Hurricane Katrina.

3 Identified Tasks

The contractor shall provide all necessary supervision, equipment, personnel and supplies to
perform the tasks identified below. The Contractor shall execute these tasks to the requirements
identified in this task order and in accordance with the contract Performance Work Statement

(PWS).

3.1 Site Identification & Assessment Task #1

The contractor shall inspect sites identified by FEMA and report the results of those inspections.

ATTACHMENT |
1of3

CONFIDENTIAL SHAW 000638
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 7 of 47

Contract No. HSFEHQ-05-D-0573 Task Order No. HSFEHQ-05-J-0015

STATEMENT OF WORK.
Site Inspection, Assessment, and Installation - Direct Assistance
(Shaw-Task Order-00! 5)

Task ID Task Title Projected Qty Remarks

Task Individual Site Inspections 4000 site The contractor shall provide
and Assessments inspections | staffing to identify sites
within the State of Louisiana
and perform inspections for
placement of temporary
shelters (2500 travel trailers
(TT) and 1500 manufactured
homes (MH)) on an as lease
basis by FEMA. The
contractor shall provide status

reports,

3.2 Installation Task #2

The contractor shall install travel trailers within four (4) calendar days and manufactured homes
within seven (7) calendar days following issuance of Work Order(s). The Contractor shall:

1, Install the units in accordance with the manufacturer’s installation specifications, and
other appropriate requirements to include State and focal requirement and obtain

necessary permits.
2. Perform all site preparation, as necessary, for proper installation of the units.

3. Establish procedures to ensure that the quality of the work performed complies with
generally accepted practices within the trade.

4, Establish procedures to monitor, arid track progress and compliance with the PWS.

Task Title Projected Qty Remarks
Installation-TT 2500 The contractor shal] instalf travel trailers on sites in
the State of Louisiana, All units shall be
winterized.
Installation-MH 1500 The contractor shall instal] manufactured homes on
sites in the State of Louisiana. All units shall be
winterized.

3.3 Maintenance Task #3

The contractor shall established and perform maintenance procedures in accordance with the
PWS.

20f3

CONFIDENTIAL SHAW 000639
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 8 of 47

Contract No. HSFEHQ-05-D-0573 Task Order No. HSFEHQ-05-J-0015

STATEMENT OF WORK.

Site Inspection, Assessment, and Installation - Direct Assistance
(Shaw-Task Order-0015)

3.3.1 User Maintenance Contact Phone Number

The Contractor shall establish and operate a toll free maintenance number in accordance with the
PWS. The toll free phone number must be available and operational when the first unit is ready

to occupy.
3.3.2 Timely Maintenance Remedies

The contractor shall provide a remedy to any maintenance issues within the established time
frames indicated the contract PWS,

3.3.3 Maintenance Records

The contractor shall establish and maintain maintenance records for every structure identified
and placed as a result of a Work Order(s). The contractor shall provide to FEMA a maintenance
log (cumulative and unit specific) upon request. This log wil] include al] maintenance calls
(issues identified & time), and status of remedy.

Task Task Title Projected Projected Funding
Qty
Task | Occupancy Maintenance 4000 The contractor will provide

maintenance services for
travel] trailers and
manufactured homes
installed by the contractor
for up to an estimated 18
months,

4. Transportation Task #4 The contractor shall transport travel trailers.

Task Projected Oty Projected Funding
TT-Transport 1000 Deliver shall deliver travel trailer to and remove
Only from FEMA staging areas and other location as

designated by the CORT,

5. Performance Period The period of performance is from September 12, 2005
through January 15, 2006.

30f3

CONFIDENTIAL SHAW 000640
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 9 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

1. GENERAL

AU work performed shall be in accordance with all applicable federal, state and local codes and
regulations. The provisions herein and typical details shall not be construed as lowering
standards established by local laws, ordinances or regulations

The contractor must be, or have employed, registered/licensed technicians (Plumbers,
electricians’ etc.) to conform to State and local requirements for installing and/or booking up
systems or repairing defects involving their particular trade. It is the contractor’s responsibility
to obtain all proper licenses and permits to set-up the units. Locally requixed permits shall be
applied for within 3 working days of work order issuance. Unit shall be ready to occupy within 3
days of permit issuance.

All trenches shall be back filled, tamped, or rolled to the maximum practical density to avoid
settlement damage to sewer, water, or gas lines. All construction debris, waste and excess
material shall be cleaned and removed from all waste sites. Contractor shal! be available for

move-in inspection.

The following installation items represent minimum requirements. Requests for exceptions or
substitutions must be approved by FEMA in writing prior to performing the work. Approval will
be on an individual basis based on availability of materials or conditions peculiar to the intent of
installation or work.

The contractor shall position the travel trailer on the Jot as staked. In the absence of staking, the
contractor shall position the travel trailer in a manner to utilize the most practical direct path
from the utility connections. (Sewer line, electric, water, etc.)

2. BASIC TRAVEL TRAILER SET-UP

2.1.1 Delivery of Travel Trailer:

Towing shall be from the staging area to designated sites as identified. The travel trailer
shall be properly placed, position, and aligned on the site. The towing operator shall be
properly licensed and insured to protect the Government’s interest.

2.1.2 Blocking and Leveling
The Contractor shall clean away all grass roots, loose dirt, rocks or debris where at the base
of the piers. Travel trailers shall be set-up on concrete piers and after the weigh of the
travel trailer is transferred to the piers, if the unit is not leveled properly the contractor will
reinstall the unit at no additional cost to the government. The travel trailer set-up will also
include a minimum of six piers (three on each side) evenly spaced. The end piers should
not be directly on the end of the unit, but approximately six inches off the edge of the unit.
The Contractor shall provide a base for each pier. The base will be 4x 24” x 24” exterior
grade plywood. The piers will have at a minimum two solid cap blocks on the base and
two solid cap blocks at the top of the piers.

EXHIBIT
66 3 99

Exhibit 7— Page 1 of 10

CONFIDENTIAL SHAW 000480
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 10 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

The space between the top of the pier’s solid cap blocks and the bottom of the travel
trailer I-beam frame shall not exceed seven inches (7”). Up to four inches (4”) of this
space may be filled with a solid concrete block laid parallel to the travel trailer steel I-beam
frame. Up to three inches (3”) of this space may be filled with blocking timber and wedges
laid perpendicular to the travel trailer steel -beam. No more than one inch (1”) of this area
shall be shimmed with wedges.

After the weight of the travel trailer is transferred to the concrete piers, the piers must be
vertically aligned and tightly shimmed with wooden wedges. If the piers are not vertical at
the time of final inspection, they shall be removed and reinstalled by the Contractor at no
additional cost. The Contractor will be responsible for all necessary re-leveling and re-
blocking of the travel trailer for a period of 90 days after final inspection.

2.1.3. Anchoring and Straps

The contractor shall install two (2) anchors per side (total 4). All anchors must be placed,
driven, or augured so that the individual anchor will withstand a withdrawal pull with no
more than two (2) inch vertical displacements (FEMA. will direct the contractor to anchor
and strap the unit if the travel trailer is located within a flood zone A). If the above
methods of anchoring do not pass the displacement tests for an anchor, the contractor shall
notify the COTR and shall provide an equivalent alternate anchorage system for approval.
The location of the straps shal] be two on the tongue of the unit, and two on the back
bumper of the unit. Each strap shall extend from one turnbuckle on the anchor head, and
wrap one time around the tongue or the back bumper, respectively, before being attached
to the other turnbuckle on the anchor head.

The strap shall be 1.25” X .035” cold rolled galvanized steel, as per Federal Specification
QQ-S-781 G for Type 1 Class B, Grade 1 strapping. The anchor straps shall be snug and
in a near vertical position.

2.1.4 Sewer Line Installation to Travel Trailer above Ground

Sewer line installation from the sewer riser and connection to the travel trailer is to be
provided by use of 3” hard ABC or PVC, Schedule 40.

The line shall be of the shortest practical. At sites with a sewer riser already installed, the
Contractor will make the connection between the travel trailer connecting point and the
Tiser, up to 50 feet. If a sewer riser is not in place, a clean-out fitting will be installed in an
accessible location to facilitate snaking-out a clogged up line from the connection point,
through the riser and into the main or service line. The pipefitting that attaches the sewer
connection to the drain outlet of the travel trailer shall be threaded and screwed or installed
with a removable adapter for the drain outlet.

The nominal inside diameter of the unit sewer connection shall not be less than three
inches (3”). The slope shall be continuous and at least one-quarter inch (1/4”) per foot and

no more than one-half inch (1/2) per foot. Overhead (hanging) sewer straps shall be
placed at four-foot (4’) intervals (maximum) to prevent any deflections.

Exhibit 7— Page 2 of 10

CONFIDENTIAL SHAW 000481

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 11 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

The fitting between the travel trailer sewer line and sewer riser (placed above ground) will
be one of the following:

(1) An approved 4” x 3” adapter, or (2) the lower end of the travel trailer sewer line shall
extend at least four inches (4) below the rim of the riser with an air tight connection
provided by the use of a rubber ring. Pipe shall be rigid PVC sewer pipe ASTM D-2727;
or Schedule 40 ASTM D-2261. The line shall be of the shortest practical length and
include a clean-out wye. The Contractor shall test the sewer line for leakage, and any leaks
shall be repaired at no additional cost.

If a sewer riser is not in place, the Contractor will make an appropriate sewer tap on the
sewer collection line and install the necessary piping and riser connection. Sewer piping
shall be installed in accordance with local codes and the Uniform Plumbing Code. The
Contractor shall test the sewer line for leakage, and any leaks shall be repaired at no
addition cost. The above ground line shall be properly sealed where it connects to sewer
riser. The above ground sewer line shall be strapped and secured properly every 4 feet.
This Line Item includes up to 50 linear feet of above ground 3” sewer.

2.1.5 Water Line Installation to Travel Trailer above Ground

Water line installation from the existing service-connection to the travel trailer service pipe
is to be provided by use of approved RV water hose, up to 50 feet. For sites with water
service riser already installed; the Contractor will make the connection between the travel
trailer connecting point and the riser. A cut-off valve and a hose bibb with anti-siphon
valve shall be located adjacent to the unit connecting point (must be in convenient location
to facilitate shut-off of water to unit and make a watering hose connection). The
Contractor shall test the service line for leakage, and any leaks shall be repaired at no
additional cost.

Where local water pressure is in excess of the manufacturer’s recommended maximum psi
the contractor shall install an approved water pressure-reducing device to safeguard the
unit’s plumbing system.

If the water service riser is not in place, the Contractor will make an appropriate tap on the
water service line and install the necessary piping and riser connection. Water piping shall
be installed in accordance with local codes and the Uniform Plumbing Code. All service
line beneath the travel trailer shall be installed clear of the ground, made with the minimum
number of joints, be of the shortest practical length, and be supported by metal straps at
four foot (4’) intervals (maximum).

The Contractor shall test the service line for leakage, and any leaks shall be repaired at no
additional cost. RV hose shall be capable of withstanding constant exposure to weather
elements (i.e. heat and sunlight). A pressure regulator valve is required on the supply inlet.
This Line Item includes up to 50 feet of potable water hose, anti-siphon valve, and any
required pressure reducing device.

Exhibit 7— Page 3 of 10

CONFIDENTIAL SHAW 000482

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 12 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

2.1.6 Direct Wiring of Travel Trailer

The Contractor shall provide connection of service from the electrical assembly to the
travel trailer weatherproof electrical disconnect pedestal (box) up to 50 feet. The Power
supply cable shall be finished with the travel trailer. Whenever possible the contractor
shall provide above ground electrical service from the applicant’s panel box to RV
disconnect. The weatherproof disconnect box or RV receptacle box will be provided and
installed, by the contractor, at a point near the travel trailer to permit connection of existing
power cord. The weatherproof disconnect box will be equipped with the appropriate
breaker to provide an approved 30 Amp service and mounted on a treated 4”X4” post or
the equivalent. The bottom of weatherproof disconnect box will be a minimum of 10”
above ground level. Installation of electrical service will meet all federal, state, and local
codes and requirements. This Line Item includes up to 50 feet of above ground direct
wiring.

Note: Travel trailers that are all electric models will require a SO AMP service and circuit
breaker. The requirements are as above, amended to 50 AMP service and circuit breaker.
The increased cost of the 50 AMP service and circuit breaker shall be offset by the lack of

a LP gas requirement for the unit.

2.1.7 Fill Propane Tanks.
Fill both tanks and inspect connections.

2.1.8 Steps

If required, the Contractor shall instal] steps at each travel trailer entrance. All wooden
steps shall be made of exterior grade framing lumber. The Contractor shall prepare the
grade and construct a level step, such that the step is centered on the door and safely
beneath with the doorsill in a manner that does not represent a trip or safety hazard. The
step must not impede the opening or closing of the door or restrict occupant entrance or
exit. The steps will be constructed of wood thirty-six inches (36”) wide. Handrails
constructed with 2” x 4” safety edge lumber shall be provided on all steps and installed on
both sides of the steps. If steps are needed a handrail will be installed in a manner to assist
the occupant exiting or entering the platform. The platform and steps shall have a stable
and secure foundation, be level in both directions and anchored. AJ) handrails shall be
sanded and painted with one coat of white paint. The contractor shall provide all supplies
and materials.

2.1.9 Make Travel Trailer Ready For Occupancy (RFO).

i) Assemble Accessories and Arrange for Use:
(a) Arrange all furniture for occupancy;
(b) Clean and mount storm window panels;
(c) Install drawers;
(d) Remove window clips; travel blocking and protective taping;
(ec) Hang fire extinguisher (report low charge to FEMA inspector);
(f) Mount exterior light fixtures, and install bulbs;
(g) Install interior light globes and covers;

Exhibit 7— Page 4 of 10

CONFIDENTIAL . SHAW 000483
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 13 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

{h) Install screens;

(i) Re-install any fallen curtains;

G) Install cabinet door panels and other knockout panels;

(k) Install commode tank lid; and

(1) Repair, if necessary, cabinet/door/drawer hardware.

ii) Activate Utility Systems and Make Minor Repairs: (All parts changed must be of
same quality.)

(a) Test water system and make minor repairs (i.e., tighten, adjust, or replace fittings,
flare nuts, faucet washers, ball cocks, shower diverters, faucet sets, etc.);

(b) Verify hot/cold water lines, reverse if required;

(c) Tighten or replace loose drain line connections (traps, strainer assemblies, etc.);

(d) Replace commode wax ring and tank gaskets, as needed;

{e) Tighten loose connections in electrical system; and

(f) Test electrical circuits and replace bulbs, breakers, switches, or receptacles, as
needed.

iii) Test Appliances and Appurtenances:

(a) Activate, test and make any necessary minor repairs to the refrigerator, range,
furnace, air conditioner, and water heater for proper operations. Adjust pilots and
bumers, change orifices, water heater elements, etc., as needed;

(b) Test smoke detector and replace if faulty. Defective smoke detectors provided by
FEMA or manufacturer upon receipt of damaged one; and

(c) Test exhaust fans for proper operation, repair as needed.

iv) Final Clean-Up and Readiness:

(a) Clean floors, counters, kitchen equipment, bath fixtures, and windows as needed;

(b) Perform any other minor work required to prepare the unit for occupancy (.e.,
door adjustments, refasten moulding and panels, etc.);

(c) Remove unit packing debris and excess set-up material from premises; and

(a) Report major discrepancies or missing items to FEMA inspector.

2.1.10 Sewer Line, Buried

The Contractor shall run necessary sewer line and sewer riser from the sewer tap (at City
sewer line, house lateral or septic tank) to the travel trailer. At sites with sewer riser
already installed, the Contractor will make the connection between the travel trailer
connecting point and the riser. If a sewer riser is not in place, the Contractor will make an
appropriate sewer tap on the sewer collection line and install the necessary piping and riser
connection.

A clean-out fitting will be installed in an accessible location to facilitate snaking-out a
clogged up line from the connection point, through the riser and into the main or service
line. The pipefitting that attaches the sewer connection to the drain outlet of the travel
trailer shall be threaded and screwed or installed with a removable adapter for the drain
outlet.

Exhibit 7~- Page 5 of 10

CONFIDENTIAL SHAW 000484
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 14 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

The line shall be of the shortest practical length and include a clean-out wye. The
Contractor shal] test the sewer line for leakage, and any leaks shall be repaired at no
additional cost.

All sewer piping and installation shall be installed in accordance and compliance with
State and local codes and the Uniform Plumbing Code. This also includes placement in a
trench separate from the water line and at a distance from the water line, burial below the
surface of ground, and securing the installation to reduce deflections. Backfill material
will be free of rocks and other debris and will include a bed of compacted sand six inches
(6”) above and six inches (6") below the sewer line. If the travel trailer has multiple sewer
drop points, they will be interconnected to a single unit drop point.

2.1.11 Municipal Sewer Tap- Install sewer tap

If a municipal sewer tap is required, the Contractor shall excavate, install the tap, and
connect to the sewer line from the travel trailer and backfill, according to local
requirements. The sewer tap shall be made in accordance with local regulations regarding
sewer tap installations. The sewer tap shall utilize a device such as a saddle. A connection
of one pipe into another and projecting beyond inner wall is prohibited due to the resulting
restriction to free flow. All piping shall be connected to assure free flow. If required by
local regulations, the trench shall not be backfilled until the sewer tap has been inspected
and approved by the sewer authority. In the event the governing entity has a
predetermined fee for sewer taps, such fee shall be paid by the Contractor and reimbursed
at actual expense (individual receipt required). In the event the governing entity makes the
tap at no cost; the Contractor shall not be paid for this line item, Where pavement must be
removed and replaced, the Contractor shall contact the FEMA COTR for instructions.

2.1.12 Water Line, Buried

The Contractor shall extend water service from the supply source (City main, house service
line or well, etc.), to the travel trailer pad. At sites with water service riser already
installed, the Contractor will make the connection between the travel trailer connecting
point and the riser. If the water service riser is not in place, the Contractor will make an
appropriate tap on the water service line and instal] the necessary piping and riser
connection

Service line is to be laid a minimum of six inches (6”) below the frost line and not less than
twenty-four inches (24”) below the surface of the ground with a three-quarter inch (3/4”)
shut-off valve installed in the water line, or three-quarter inch (3/4”) shut-off valve with
pet-cock must be installed in the water line. The service line must be placed in a trench
separate from the sewer line and at a distance that is in compliance with State and local

codes.

A cut-off valve and a hose bibb with anti-siphon valve shall be located adjacent to the unit
connecting point (must be in convenient location to facilitate shut-off of water to unit and
make a watering hose connection).

Exhibit 7~— Page 6 of 10

CONFIDENTIAL SHAW 000485
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 15 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

The Contractor shall test the service line for leakage, and any leaks shall be repaired at no
additional cost. A back flow preventer valve will be properly installed. Backfill materials
shall be free of rocks and other debris and shall include a bed of compacted sand six inches
(6”) above and below the water line

Where local water pressure is in excess of the manufacturer’s recommended maximum psi
the contractor shalj install an approved water pressure-reducing device to safeguard the
unit’s plumbing system.

All service line beneath the travel trailer shall be installed clear of the ground, made with
the minimum number of joints, be of the shortest practical length, and be supported by
metal straps at four foot (4") intervals (maximum).

All water piping and installation, which includes the water line and any required pressure
reducing device, shall be installed in accordance with local codes and the Uniform
Plumbing Code. Where pavement must be removed and replaced, the Contractor shall
contact the FEMA COTR for instructions.

2.1.13 Municipal Water Tap (Install Water Tap)

If a municipal water tap is required, the Contractor shall excavate, install the tap, and
connect to the water line from the travel trailer and backfill, according to local
requirements. The installation of the water tap (if required) will be accomplished in
conjunction with, and according to the regulations of the local Water Company. If
required by local regulations, the trench shall not be backfilled until the water tap has been
inspected and approved by the water department. In the event the governing entity has a
predetermined fee for water taps, such a fee shall be paid by the Contractor and reimbursed
at actual expense (receipt required). In the event the governing entity makes the tap at no
cost; the Contractor shall not be paid for this line item.

2.1.14 TT Power Pole w/ Meter. Furnish and install 50 AMP travel

trailer electric power pole and meter loop)

The Contractor shall install an overhead electric assembly. The assembly shall be at least
50 AMP (120/240-volt service) with a weatherproof, rain-tight meter box. containing a 50
AMP circuit breaker. All components shall be installed in accordance with the National
Electric Code (NEC) and local codes. All conduit connections on the meter pole must be
watertight. Pole shall meet all code requirements.

2.1.15 Water Line Winterization

When specified, the Contractor shall install freeze protection heating tapes and insulation
to water supply piping and shut-off valves to prevent freeze-up of the system (piping
exterior of the travel trailer). Minimum requirements include:

Exhibit 7— Page 7 of 10

CONFIDENTIAL SHAW 000486

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 16 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

The heat cable shall be UL listed, Commercial Pipe Heating Cable and rated at a minimum
of 3 watts per foot at 120 volts and have provisions for grounding. The heat cable shall be
of a type that will not damage PVC or other non-metallic water pipe under the heat cable
installation procedures required therein.

The heat cable shall be installed in compliance with the cable manufacturer’s instructions
and the following additional details:

The sealed end of the heat cable will be securely fastened to the unit water pipe at a point
that is above grade and installed approximately eighteen inches (18”) down the riser pipe
and then wrapped up the riser. The heat cable shall be applied to the outside of the bend at
elbows and securely fastened with tape. Wrapping of the water line with the heat cable
shall be 3 tums per linear foot (1 wrap every 4 inches). Cable shall be fastened every
twelve inches (12”) with tape to the riser.

Preformed insulation and weatherproof covering shall be placed on the pipe and fastened
with a continuous strap of weather resistant tape. The insulation, covering and tape shall
extend into the water riser sleeve and water heater compartment approximately 12 inches
(12”) with the sealed end of the heat cable covered, if possible. Riser shall be filled with
the appropriate insulation and top of riser shall be sealed with an appropriate cover.

2.1.16 Handicap Ramp

The Contractor shall prepare the grade and construct a wooden ramp with level platform
such that the platform is centered on the door of principal entry into the travel trailer and
flush with the doorsill. Contractor shall coordinate ramp design with local authorities to
ensure compliance with the current American Disability Act, and State, and local
requirements.

All wood shall be treated, exterior grade framing lumber and shall be used throughout,
except for the platform and runway surface, which shall be exterior plywood. The handrail
shall be 2” x 4” safety-edge lumber, sanded and painted with one coat of white paint.

Nails shall be coated and sized consistent with industry standards.

The overall length of the ramp and platform shall be fixed by the height above the grade of
the travel trailer sill and the distance to either a point abreast of the unit, or to a suitable,
firm surface, approach to the ramp. The ramp pitch shall be one-inch (1”) slope for each
twelve inches (12”) in length (maximum).The ramp shall be firmly supported on grade,
with mud seals added where necessary because of soil conditions. The ramp and the
platform shall have a non-skid surface using materials that are FEMA/Industrial approved
(sand added to paint is unacceptable).

2.1.17 Direct Wiring To Well Pump Switch

The Contractor shall provide and install a 30 Amp well pump switch. All components
shall be installed in accordance with the National Electric Code (NEC) and local codes.
All conduit connections must be watertight and meet all code requirements.

Exhibit 7— Page 8 of 10

CONFIDENTIAL SHAW 000487

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 17 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

2.1.18 Aboveground Electrical Excess

The Contractor shall provide and install aboveground electrical connection in excess of the
basic set-up. All components shall be installed in accordance with the National Electric
Code (NEC) and local codes. All conduit connections must be watertight and meet all
code requirements.

2.1.19 Obtain State and Local Permits

The contractor shall be responsible for obtaining necessary permits associated with placing
and installing the unit and utility installation. Permits shall be applied for within 3 working
days of work order issuance. Unit shall be ready to occupy within 3 days of permit
issuance. FEMA will reimburse the contractor the actual permit fees. Receipt required.

2.1.20 Provide additional 25’ Potable Water Hose
2.1.21 Provide and Install 5KW Generator

2.1.22 Direct Burial of 50 Amp Service

At sites with electrical service drop (meter box or other service connection point) already
installed, the Contractor shall provide underground service {in compliance with all codes
and regulations) from the electrical assembly to the unit. All cable shall be appropriately
buried and shall be installed in accordance with the National Electric Code (NEC) and
local codes. Al! conduit connections must be watertight and meet all code requirements.
The conduit shall be securely attached to the electrical boxes in accordance with accepted
methods and standards. Sweeps shall be used at the unit and meter loop assembly. If an
electrical service drop is not in place, the Contractor shall install an electrical assembly for

utility company connection.

2.1.23 Refill Both Propane Tanks
Refill both tanks and inspect connections.

2.1.24 Miscellaneous for TT Installation

The contractor shall complete miscellaneous tasks assigned by the FEMA COTR or
designee, which are not addressed by the above descriptions and line items.

The contractor will be compensated for time and materials or actual cost. A receipt for
materials must be submitted along with the time the task required. If the task was
performed by others, a receipt for the actual cost of the task will be submitted to FEMA for

reimbursement.

2.1.25 Handicap Platform Steps

The Contractor shall prepare the grade and construct a wooden series of level platforms
such that the level platform is centered on the door of principal entry into the travel trailer

Exhibit 7 Page 9 of 10

CONFIDENTIAL SHAW 000488

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 18 of 47

EXHIBIT 7
TRAVEL TRAILER INSTALLATION

and flush with the doorsill. Contractor shall coordinate platform design with local
authorities to ensure compliance with the current American Disability Act, and State, and

local requirements.

All wood shall be treated, exterior grade framing lumber and shall be used throughout,
except for the platform surfaces, which shall be exterior plywood. The handrail shall be 2”
x 4” safety-edge lumber, sanded and painted with one coat of white paint. Nails shall be
coated and sized consistent with industry standards.

The overall number of platforms shall be fixed by the height above the grade of the travel
trailer sill and the distance to either a point abreast of the unit, or to a suitable, firm surface,
approach to the ramp. The platform heights shall be between seven and one half-inch (7
1/2”) and eight inches (8”) maximum. The platforms shall be firmly supported on grade,
with mud seals added where necessary because of soil conditions. The platforms shall
have a non-skid surface using materials that are FEMA/Industrial approved (sand added to
paint is unacceptable).

Exhibit 7— Page 10 of 10

CONFIDENTIAL SHAW 000489

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 19 of 47

a

PICA | ReNEL

20 Wen ar Oree 8 arena 9 camera ee ert wy pee oe: vette
eam FN oe

1Oo/fos

Pee ComsTRucTion)

J Adbrnownt Salud CaP Braces

CAN BE USED Ar Tap of hee

i To MEET MAXIMUM AUS imReLe
Weald THCKVESS Rures

Bea
“ORTRALER,

Souid Bloc Must Be
DRIENTED Ass Shown wrth
RESPECT Te THE TRAILER
i. T- Beam,

i

| TRAEL TRMLER TIRES Must Repihal
| THE GRouwWDb, Blocks May be Race
(| Rew Conticr THis MAN BE Kec.

$ RACES x Stove GRunp,

Base RAE [5 24% 24" 434"
EXTERIOR, GRAVE PLyuoe,
GRIMND Wst Be LEELED
YRior Th PLACEMENT oF

INPUTED Ants fi ComThct” (WITH
UNSER THE TIRES 7a (MrtiwTAin
SSAPRY WHEN TRAILERS Fee

HLER -

eR R. BeEN-usace

USE No Msre Than
1" oF Siw, tf

NEF DED
UCC | ok Z Levers

Than
CS" Noms ac
Trekeess Etc)

ZN? Laie of '
Hou Bock, oR |
Sasso tue
TOD BLK,

—

EXHIBIT
6 ‘4? 9

SHAW 002020

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 20 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

1. General
This specification establishes the minimum requirements for disaster area maintenance of
temporary housing units.

This contractor at a minimum will:

a) Provide maintenance services of units assigned by FEMA. This maintenance
services contract includes performing monthly preventative mamtenance
inspections, responding fo routine and emergency maintenance calls and making
repairs as required for units assigned to the contractor and/or identified by FEMA.

b) Maintain records pertaining to tasks assigned to include monthly preventative
maintenance inspection, routine and emergency maintenance and will make those
records available for review upon request by FEMA. The records shall be saved
and provided to FEMA when the units are deactivated, and/or upon request by
FEMA. All records will be saved and provided on a CD-ROM in Microsoft Word.
or Excel and provided to FEMA. The contractor will maintain a back-up copy for
three years after the contract is terminated.

c) Perform other tasks as required by the COTR and / or the COTR’s designee, and
as described in the Additional Cost Line Items portion of this document. FEMA
will notify the contractor of the requirement for these tasks.

d) Demonstrate professionalism when performing contract-associated tasks. The
Contractor must have approval from the occupant or, in case of an emergency, the
project monitor (PM) prior to entering the temporary housing unit. This shall
include notifying commercial site management or Operations and Management
personnel when performing duties within their properties.

e) The Contractor at no time will leave unattended, or otherwise unprotected, any
excavation or safety hazard that might cause injury to any person. Access to and
from al] exterior doors shall be maintained at all times.

f) Contact the manufacturer, dealer or temporary housing unit source for warranty
maintenance issues as approved by FEMA. FEMA will not pay any co-payment
or deductions if they are required. If the contractor is paid by the manufacturer,
dealer, or temporary housing unit source to perform warranty maintenance, the
contractor shall reimburse FEMA. of the amount received.

g) Have resources (including staff) available or on-call for 24 hours a day, 7 days a
week (24/7), to include having a toll-free number available within 48 hours upon
contract award to report emergency (day and after-hours), and routine issues.

h) Make repairs identified by FEMA. Generally the Contractor will be expected to
correct problems that the occupants are not expected to correct. These problems
are not limited to tasks that require the professional services of an experienced
electrician, carpenter, plumber, or appliance repairman.

i) Obtain approval from the COTR prior to performing any miscellaneous or
unusual requirements. Written documentation must be submitted for
reimbursement.

j) Inform FEMA of any trends associated with the upkeep and maintenance of the
unit such as excessive service calls.

EXHIBIT
Exhibit 10 — Page 1 of 15 665?

CONFIDENTIAL SHAW 000505

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 21 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

k) Respect applicant privacy and protect their information. The applicant
information must not be used for any reasons other than the intended purpose. No
applicant information will be provided to other entities without FEMA and the

applicant’s approval.

2. Maintenance Areas of Responsibility
The Contractor’s area of responsibility is for all interior and exterior components of the unit
which includes the:

2.1 Plumbing System

Plumbing includes all water and sewer lines and tanks inside the temporary housing unit
and all external lines from the temporary housing unit to the utility main or the park
owner’s connection.

2.2 Electrical System
Electrical includes all wiring and associated parts from the Power Company’s connection
on the meter loop pole or pedestal, to and throughout the manufactured unit, including
underground entrance cable. When connecting to an approved power source the
responsibility shall include all installed components up to the approved power source.

2.3 Heating and Cooling System
This includes all major components to include wiring and associated parts

2.4 Replacement of Components
Unless it is associated with the repair and/or replacement of a related component the
Contractor is not responsible for replacing such items as light bulbs, stoppers, drain
baskets, extra door keys, light covers, etc.

2.5 Entrance/Exit components

This includes all panels, sidings, windows, screens and doors.
3. Function (tasks) Descriptions.

3.1 Maintenance — Emergency
Repairs that are authorized under Emergency Maintenance may be requested by the
temporary housing unit occupant (the contractor needs to report this to FEMA
immediately) and are defined as those necessary to eliminate a serious health, safety, or
security hazard. All emergency work orders received after hours, weekends, or holidays
from the occupant shall be reported to the COTR by 10:00 a.m. on the following normal
workday.
The Contractor shall initiate repairs to eliminate these healths, safety, or security
hazards within six (6) hours of receipt (7 days per week) of an emergency request and
complete the work as soon as possible. This may include temporary repairs, in which

Exhibit 10 ~ Page 2 of 15

CONFIDENTIAL SHAW 000506

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 22 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

case the Contractor shall notify the COTR or designee. Permanent repairs must be
completed within the routine repair time frame.

Emergency maintenance is typically required in response to, but not limited to, one of
the following problems:
a) Gas leak
b) Major water leak, where a shut off valve cannot be located
c) Actual sewage leak (Health concern)
d) No heat (when outside temperature is, or is expected to go below 50 degrees
Fahrenheit)
e) No A/C (when outside temperature is, or is expected to go above 85 degrees
Fahrenheit)
f) No electricity (excluding local power company failure), or major electrical
malfunction.

3.2 Maintenance — Routine
Maintenance not defined as emergency maintenance is defined as routine maintenance,
unless identified by FEMA. All routine repairs shall be completed within 48 hours after
receipt of the requirement. When such 48-hour completion time would expire on
Saturdays, Sundays, or holidays, the 48-hour time period shall extend to the following
Monday or Tuesday, as appropriate.

The Contractor shall complete routine maintenance items requested by the occupant that
were not listed on the work order when performing a service call or preventive
maintenance visit, as long as the total cost of material does not exceed $0" For items
and materials considered as Major Material Items the contractor must notify and
obtain approval from the COTR prior to performing the work. It is the
contractor’s responsibility to obtain the name of the person and the time of the decision.

Failure of the Contractor to contact FEMA for authority to proceed could result in the

deduction of such costs from the work order prior to payment. If payment has been
made the amount may be deducted from subsequent payments.

Priority shall be given during routine maintenance to:
a) Heating (winter) and cooling (summer) problems not corrected under the
emergency maintenance definition
b) Problems that could be a health concern, such as stopped-up sewer or water lines
c) Permanent correction of temporary repairs that were performed under emergency
maintenance; and
d) Other such tasks where earlier correction could lessen the extent of the problem.

3.3 Maintenance — Staging

This is related to the units located at the staging areas or other designated areas
identified by FEMA. This function includes performing maintenance of units identified
by FEMA. Maintenance tasks on these units will by identified and assigned by the
COTR or his designee.

Exhibit 10 — Page 3 of 15

CONFIDENTIAL SHAW 000507

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 23 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

3.4 Major Material Item Replacement

The Contractor shall provide all necessary replacement parts and materials to repair
manufactured units under this Contract, except those identified as Major Material Items.

Major Material Items are identified as, but not limited to, refrigerators, water heaters,
ranges, axles, exterior doors, temporary housing unit tires, complete furnace, complete
A/C, or any other component valued at over $488. The Contractor may replace these
items only after prior inspection and approval by the COTR or CO.

If the Contractor determines, after an inspection by a certified mechanic, that repair of a
Major Material Item(s) is impractical, the Contractor shall promptly provide the COTR.
with a written report. This written report needs to address identifying the item(s) by
make, model number, part number, identification number and location, condition of the
item, and itemized material cost to replace the item(s).

Note: This is for the actual item costs. Labor costs are covered under the monthly
maintenance fee. Any additional labor cost must be itemized and approved by the
COTR prior to performing the work. The COTR shall investigate and determine the
practicality of repair versus replacement, and then shail instruct the Contractor to
proceed with repairs, provide the Contractor with the Major Material Item for
replacement, or authorize the Contractor to purchase and replace the item

Any parts valued at over $8 each that are replaced by the Contractor shall be returned
with the completed work order to the COTR, if requested. Replaced parts shall be
individually identified with a wire~-on tag that contains the work order number, unit
number, replacement date, and description of defect. Unit components replaced as
defective and later determined by the COTR to have been repairable at a reasonable cost
shall result in a back-charge to the Contractor for any associated material costs

The Contractor shall, at ail times, make a reasonable effort to acquire all parts at prices
favorable to the Government. If the COTR determines that the Contractor could have
reasonably obtained the materials at significantly lower prices, the COTR may authorize
payment based on the lower prices. Purchase receipts shall be provided to the COTR
with the completed work order for all (each) parts costing over $250. The Contractor
will be compensated for the actual purchase costs of materials used, as documented on
the receipt.

When the Contractor must backorder repair parts for the furnace, A/C, refrigerator, or
range, or is otherwise unable to repair these appliances within 48 hours of receiving the
work request (within 6 hours for the furnace (winter) and A/C (summer)), the
Contractor shall provide a temporary appliance for the occupant. The temporary
heating appliance shall be equipped with an automatic shut-off that activates if the
heater is accidentally tipped over. Such temporary appliances shall be provided, at no
additional cost to the Government or the occupant, until such time as the permanent
appliances are fully operational

Exhibit 10 — Page 4 of 15

CONFIDENTIAL SHAW 000508

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 24 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

All parts replaced shall be new and shall be of a quality equal to or better than the part
being replaced.

4, Issuance of Work.
FEMA reserves the right to issue work to staff and other resources to perform the mission.
The contractor will be assigned units after the units have been installed. The contractor will
perform monthly maintenance service visits for each unit assigned. These visits must be at
least 14 days apart.

The contractor may also be tasked to perform service calls for routine, emergency, staging
maintenance and other tasks during normal duty hours. All service calls will bave a follow-up
visit scheduled.

The follow-up to a service call may serve as a monthly maintenance service visit if it is
performed in the next month and the 14-day spread is met. The purpose of the maintenance
service visit is to see if there were any maintenance issues related to the unit that need to be

addressed and to make repairs as needed.

The contractor must provide the COTR_a monthly schedule of planned visits on the first duty

day of the month and a summary of findings for the units assigned at the end of the month.

The contractor will contact the applicant at least 24 hours prior to the scheduled maintenance
visit. The contractor will also leave the occupant a summary of the findings and work
performed for all visits and service calls.

The summary will include the unit information, date of the visit, the summary of findings and
work performed, and the tentative date for the next scheduled maintenance service visit. A
copy of the summary of each unit assigned shall be forwarded to FEMA. on a monthly basis.

Routine, emergency, and staging work may be issued to the contractor via maintenance work
orders. Maintenance work orders will be used for documenting all maintenance calls
regardless of the nature. Generally FEMA will use a FEMA Form 90-38, “Mobile Home
Maintenance Work Order” or other appropriate documentation. At the completion of the
work the contractor shall:
a) Complete the work order prior to requesting the occupant’s signature (excluding
cost).
b) Attach a signed statement explaining the omission of occupant’s signature when
the occupant is unavailable to sign the completed work order.

When the unit is identified by FEMA as currently vacant the maintenance service visit will
include inspecting the unit for safety hazards, damages and reporting the condition of the unit.

The contractor will perform a unit cleaning to prepare the unit for occupancy as assigned by
FEMA. The LP tank of the mobile home or the travel trailer’s LP bottles shall be filled for re-

occupancy. The contractor will not replace appliances, furnishing, furnace, A/C, or water
heater prior to COTR approval. Ifit is determined that these items need to be replaced for the

Exhibit 10 ~ Page 5 of 15

CONFIDENTIAL SHAW 000509
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 25 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

unit to be ready to occupy the contractor will submit in writing the items that need to be
replaced and the estimated amount of replacement cost. The COTR must concur prior to items

being replaced.

For billing purposes the contractor must submit the actual receipts for items replaced with the
Work Order. Based on the concurrence or approval of the COTR, FEMA will reimburse the
contractor the-actual cost of the replacement items not to exceed the fair market value of the

item.
5. Contractor Responsibilities

5.1 Work Hours
Nonmal work (duty) hours are from 8:00 a.m. to 5:00 p.m., Monday through Friday,
excluding holidays. Emergency after-hours calls are considered as emergencies that
occur anytime outside the above-mentioned hours and days. The completion time of
service calls that would expire on Saturdays, Sundays, or holidays, shall extend to the
following duty day, as appropriate

5.2 Phone Service
The 24-hour telephone numbers(s) shall be a toll-free number and shall be provided to
the Contracting Officer and FEMA COTR within 48 hours of contract award. The
telephone number(s) will be provided to the unit occupants.

5.3 Facilities
The Contractor shall maintain an office and adequate storage and shop facilities to
efficiently provide for the Government’s maintenance obligation and requirements.

Identification
The contractor personnel must wear an identification badge. The badge must include a

contractor identification number, name, company name, and phone number. This badge
must be visible when the contractor is working. The contractor is responsible for
obtaining badges for all the employees working the tasks associated with this contract.
This includes temporary, sub-contractors, etc.. The contractor is responsible for
monitoring their staff.

5.4 Resources
The Contractor shall furnish all necessary labor, tools, equipment, and materials to
perform temporary housing unit maintenance services. The contractor must obtain all
appropriate permits and licenses needed to fulfill the tasks of this contract. The
contractor must use certified and licensed personnel to perform the work needed (i.e.
plumber, electrician, heating and air).

5.5 Contractor Expectations

All contractor staff is expected to carry themselves in a professional manner. It is the
contractor’s responsibility to monitor and supervise their staff work, professionalism,

_ Exhibit 10 — Page 6 of 15

CONFIDENTIAL SHAW 000510
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 26 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

and behavior. The contractor must be able to provide a background check of employees
as requested.

§.6 Qualification of Personnel

Work performed under this task shail be completed by professionally certified
mechanics with expertise in heating and air conditioning (HVAC), refrigeration, range,
electrical, and/or plumbing repairs.

a) The Contractor must be able to provide documentation of each mechanic’s
professional certification (such as certificates of training course completion,
letters from previous employers certifying experience, resumes, membership
affiliations to professional organizations, or other such documentation), if
requested by FEMA, whith, in the COTR’s opinion, attests to the mechanic’s
qualifications.

b) For unusually complex maintenance problems, the Contractor must have
access to licensed/certified technicians in the areas of electrical, plumbing,
furnace, air condition, and appliance repair. Utilization of licensed/certified
personnel shall be at no additional cost to FEMA. Availability of licensed
technicians shall be (a) on a 24-hour basis, if needed, (b) maintained
throughout the period of this contract, and (c) the contractor may be required
to provide documentation to the COTR that substantiates that
licensed/certified technicians are being used.

c) The contractor will identify a primary and alternate point-of-contact within
48 hours of contract award.

5.7 Warranty
All work performed under this contract shall be warranted for a period of 90 days from
the acceptance of the work, as indicated by the Contracting Officer’s Technical
Representative’s (COTR’s) signature and date on the work order form

5.8 Problem Reporting

Any maintenance problems, which in the Contractor’s opinion were manufacturer
warranty issues, or caused by the installation Contractor (particularly towing damage
which will affect removal) and/or negligence or abuse by the occupant shall be reported
to the COTR (Gn writing) with the completed work order.

6. Tasks
6.1 MH/TT Maintenance Specifications
Task THM-01
Task Title MH / TT Maintenance Specifications

Task Description The contractor will do maintenance necessary to maintain the
temporary housing units in a safe, working, and livable, condition.
The contractor shall perform only those corrective actions that

Exhibit 10 — Page 7 of 15

CONFIDENTIAL SHAW 000511

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 27 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

require the effort of skilled technicians or labors. FEMA will
identify to the contractor all units that belong to and / or are
maintained by FEMA.

Response Time The contractor will provide maintenance services of units assigned
and identified by FEMA. Maintenance service includes
performing monthly preventative maintenance inspections, routine
and emergency maintenance and repairs for units assigned to the
contractor.

Compensation Monthly Maintenance — For each FEMA temporary housing unit
still assigned (RFO) as of close of business (COB) of the last day
of the month the contractor will be compensated a flat fee that
covers: any repairs, labor, parts and emergency service, re-
leveling, and monthly preventive maintenance inspections.

This includes the move-out inspection and clean and make ready of
the unit when the unit is vacant.

If there are excessive emergency service calls the contracior shall
inform the COTR of the trend and provide a log of events during

the billing cycle.
Unit of Issue Per Assigned Unit Per Month
6.2 Staging Maintenance
Task THM-02 -
Task Title Staging Maintenance

Task Description This is for maintaining units in staging locations, as identified by
the COTR or designee.

Response Time 48 hours after the issuance of the work order.

Compensation A work order will be issued for the unit needing the maintenance
work. Compensation is by time and materials

Unit of Issue Per unit

6.3 Miscellaneous for TT Maintenance
Task TTM-05

Task Title Miscellaneous for TT Maintenance

Exhibit 10 — Page 8 of 15

CONFIDENTIAL SHAW 000512

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 28 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

Task Description Miscellaneous tasks associated with the on-site unit maintenance
of installed travel trailer units as assigned by the COTR or
designee that are not addressed by the other descriptions and line
items. Includes key replacement and associated locksmith tasks
when there are no keys available when unit is Ready For
Occupancy.

Excludes key replacement and associated locksmith tasks for
occupied units due to occupant loss of keys or requests for
additional keys.

This line item also excludes tasks that are associated with
refurbishment of units at Staging or other FEMA facilities.

Response Time AS appropriate

Compensation Time and materials or actual cost. A receipt for materials must be
submitted along with the time the task required. If others
performed the task a receipt for the actual cost of the task will be
submitted to FEMA for reimbursement.

Unit of Issue Each

Exhibit 10 - Page 9 of 15

CONFIDENTIAL SHAW 000513

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 29 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

6.4 Install power pole and meter loop 30 AMP service

Task TIM- 074
Task Title Install power pole and meter loop 30 AMP service

Task Description Furnish and install temporary power pole and 30AMP meter-base.
Contractor will meet all local and State codes.

The contractor must have all appropriate permits and licenses.

Compensation Direct wiring of a 30 AMP RY outlet and disconnect will be
invoiced as time and materials. The contractor will be compensated
for power pole and 30 AMP meter-bases on a per-unit basis
separate from the maintenance portion of the contract, after
installation and inspection is complete. Permits are invoiced for
cost of the permit only. Receipt required.

Unit of Issue Each

6.5 Install power pole and meter loop 50 AMP service
Task TIM- 07B

Task Title Install power pole and meter loop 50 AMP service

Task Description Fumish and install temporary power pole and SOAMP meter-base.
Contractor will meet all local and State codes.

The contractor must have all appropriate permits and licenses.

Compensation Direct wiring of a 30 AMP RV outlet and disconnect will be
invoiced as time and materials. The contractor will be compensated
for power pole and 30 AMP meter-bases on a per-unit basis
separate from the maintenance portion of the contract, after
installation and inspection is complete. Permits are invoiced for
cost of the permit only. Receipt required.

Unit of Issue Each

Exhibit 10 - Page 10 of 15

CONFIDENTIAL SHAW 000514

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 30 of 47

EXHIBIT 10

MAINTENANCE-TEMPORARY HOUSING UNITS

6.6 Manufactured Homes Tasks

6.6.1 Miscellaneous for MH Maintenance

Task
Task Title

Task Description

Response Time

Compensation

Unit of Issue

MHM-0SA.
Miscellaneous for MH Maintenance

Miscellaneous tasks associated with the on-site unit maintenance
of installed mobile home units as assigned by the COTR or
designee that are not addressed by the other descriptions and line
items. Includes key replacement and associated locksmith tasks
when there are no keys available when unit is Ready For
Occupancy.

Excludes key replacement and associated locksmith tasks for
occupied units due to occupant loss of keys or requests for
additional keys.

This line item also excludes tasks that are associated with
refurbishment of units at Staging or other FEMA facilities.

As appropniate

Time and materials or actual cost. A receipt for materials must be
submitted along with the time the task required. If others
performed the task a receipt for the actual cost of the task will be
submitted to FEMA for reimbursement.

Each

6.6.2 Miscellaneous for MH Maintenance

Task
Task Title

Task Description

CONFIDENTIAL

MHM-05B
Miscellaneous for MH Maintenance

Miscellaneous tasks associated with the on-site unit maintenance
of installed mobile home units as assigned by the COTR or
designee that are not addressed by the other descriptions and line
items. Includes key replacement and associated locksmith tasks
when there are no keys available when unit is Ready For

Occupancy.

Excludes key replacement and associated locksmith tasks for
occupied units due to occupant loss of keys or requests for
additional keys.

Exhibit 10 — Page 11 of 15

SHAW 000515

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 31 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

This line item also excludes tasks that are associated with
refurbishment of units at Staging or other FEMA facilities.

Response Time As appropriate

Compensation Time and materials or actual cost. A receipt for materials must be
submitted along with the time the task required. If others
performed the task a receipt for the actual cost of the task will be
submitted to FEMA for reimbursement.

Unit of Issue Each

6.6.3 Install power pole and meter loop 100 AMP service
Task MHM- 07A
Task Title Install power pole and meter loop 100 AMP service

Task Description Furnish and install temporary power pole and 100AMP meter-
base, Contractor will meet all local and State codes.

The contractor must have all appropriate permits and licenses.
Response Time As appropriate

Compensation Direct wiring of the mobile home will be invoiced as time and
materials. The contractor will be compensated for power pole and
100 AMP meter-bases on a per-unit basis separate from the
maintenance portion of the contract, after installation and
inspection is complete. Permits are invoiced for the cost of the
permit only. Receipt required.

Unit of Issue Each

6.6.4 Install power pole and meter loop 200 AMP service
Task MHM- 07B
Task Titte Install power pole and meter loop 200 AMP service

Task Description Furnish and install temporary power pole and 200AMP meter-
base. Contractor will meet all local and State codes.

The contractor must have all appropriate permits and licenses.

Exhibit 10 — Page 12 of 15

CONFIDENTIAL SHAW 000516

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 32 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS
Compensation Direct wiring of the mobile home will be invoiced as time and

materials. The contractor will be compensated for power pole and
100 AMP meter-bases on a per-unit basis separate from the
maintenance portion of the contract, after installation and
inspection is complete. Permits are invoiced for the cost of the
permit only. Receipt required.

Unit of Issue Each

6.6.5 Refurbish MH
Task RMHR-O1A
Task Title Refurbish MH

Task Description Refurbishment tasks associated with the repair and refurbishment
manufactured home or park model (installed or staging) units as
assigned by the COTR or designee that are not addressed by the
other descriptions and line items.

Include mattress replacement, and key replacement.

Response Time As defined by the COTR or designee

Compensation Time and materials or actual cost. A receipt for materials must be
submitted along with the time the task required.

Unit of Issue Each

6.6.6 Refurbish TT
Task RTTR-01B

Task Title Refurbish TT

Task Description Refurbishment tasks associated with the repair and refurbishment
travel trailer (installed or staging) units as assigned by the COTR
or designee that are not addressed by the other descriptions and
line items.
Include mattress replacement, and key replacement.

Response Time As defined by the COTR or designee

Compensation Time and materials or actual cost. A receipt for materials must be
submitted along with the time the task required.
Unit of Issue Each

Exhibit 10 - Page 13 of 15

CONFIDENTIAL SHAW 000517

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 33 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

7. Septic Bladder

7.1 Pump Septic Bladder up to 210 galion
{Line Item PU-1)

Pump septic waste from two-hundred-ten (210) gallon septic bladder as required. The
septic bladder shall be pumped when the bladder contents are at ninety to ninety five
percent of capacity, except when the unit is deactivated. The contractor will observe all
local, state, and federal regulations while performing this service. Requests for bladder
pumping service may be initiated by the unit occupant, assigned maintenance
contractor, FEMA DHOPs field staff, FEMA DHOPs Maintenance staff, or septic
pumping contractor personnel.

7.2 Pump Septic Bladder up to 260 gallon
Cine Item PU-2)

Pump septic waste from two-hundred-sixty (260) gallon septic bladder as required. The
septic bladder shalt be pumped when the bladder contents are at ninety to ninety five
percent of capacity, except when the unit is deactivated. The contractor will observe all
local and state regulations while performing this service. Requests for bladder pumping
service may be initiated by the unit occupant, assigned maintenance contractor, FEMA
DHOPs field staff, FEMA DHOPs Maintenance staff, or septic pumping contractor

personnel.

7.3 Transport and Dispose of Pumped Septic Waste up to 210
galion
(Line Item PU-3)

The contractor shall properly transport and dispose of septic waste collected from
assigned FEMA DHOPs unit site equipped with two-hundred-ten (210) gallon septic
bladder. The contractor will observe all local, state, and federal regulations while
performing this service.

7.4 Transport and Dispose of Pumped Septic Waste up to 260
gallon
(Line Item PU-4)

The contractor shall properly transport and dispose of septic waste collected from
assigned FEMA DHOPs unit site equipped with two-hundred-sixty (26D) gallon septic
bladder. The contractor will observe all local, state, and federal regulations while
performing this service.

Exhibit 10 - Page 14 of 15

CONFIDENTIAL SHAW 000518

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 34 of 47

EXHIBIT 10
MAINTENANCE-TEMPORARY HOUSING UNITS

7.5 Dump Station Fees
(Line Item PU-5)

The contractor shall be compensated for dump station fees. The contractor must submit
the date performed, site addresses pumped, capacity of the pump truck in gallons, and
dated receipt for dump station fees. In instances where the capacity of the pump truck is
greater than the combined capacity of the pumped septic bladders serviced by the pump
truck the receipt must be document.

Exhibit 10 ~ Page 15 of 15

CONFIDENTIAL SHAW 000519
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 35 of 47

1s BARCODE NO. IAL NO. / TT VIN NO, .
FEDERAL EMERGENCY MANAGEMENT AGENCY} = /2°777 onl ay GTS (OH 24 bb C008 19.3.
’ UNIT INSPECTION REPORT ARRIVAL re Pm DATE ORIGIN
[Q0-0%3 Jo. BIGF-OS
2, TYPE OF INSPECTION 3. TYPE OF UNIT 4. SO acaNCES 5. UNIT INFORMATION
Check as many as apply Type Manulacturer Model a, Manufacturer
Dlapalcr  Becaibt [J Mobile Home — fa f2s £ £) ver
. . Water Healer 6. Vendor
Vendor Cl 0 G) ‘Travel Traller
Washer/Dryer
Staging oO oy CI Park Modei c, Model
Site Cc Cl [] FEMA Owned Range
Fo cl no oO FEMA Leased Aefrgerater d. Year AOD Cs
Move In oO O Cl side out Microwave Sine 3 2
Move Out [] ADA Campliant TwdVvo _
CC O CO apa Compatible Stereo f, Slaeping Capacity met
6, INSPECTING 7, CONDITIO RNISHINGS, INTERIOR & EXTERIOR >
aging Area Cisne N & New G = Good P x Poor O = Damaged M = Missing
FURNISHINGS bIs__|\ REG FURNISHINGS DIS {| REC FURNISHINGS os _| REC
Kitenen & Dining Gandillon First Bedroom Condllion Bathroom Condgttion
Dinetie Table _: Double Bed, Compiele Sink
Cinetle Chairs (§ for 3 9R)" _ Mirror Tub/Shower
Range Cablnet Storage Toflet ,
__Range Hood & Vent Fan Cunains & Reds Medicine Cabinet
Refrigerator, Light Fixture Mirror
Cunains & Rods Second Bedroom Curtains & Rods
Cabinets Oouble Bed, Completa Ught Fixture
Sink Y.25| Minor Exterior Condition
Light Fixture ‘ Cabinet Siorege . Water Healer
Fire Extinguisher 4-25 | Gurains & Rads Doors _—t
Living Room ‘ Light Fixtura 2 Keys per Door je Sat
Cou ’ : Third Bedroom Windows
Arm Chale Double Gad. Conipiete Screens
End Table  Mistor Fron¢Rear Panals ‘het
Coflee Table Cabinet Storage Lef/Right Side Panels .
Curtains & Rods’ Curtains & Rods Battery (For Slide. Out Unt Oniy) Yes
Light Fixture Light Fixture Propane Tanks wee eS,
Sufround Sound Spesker Awning - ‘
Hall Intarior Condition Roof & Vants
Furnace Floor Covaring Towing Hitch 4
Smoke Detectors ea, | wall Panels : Axles & Springs
Light Fixture Ceiling Panals . Wheels & Tires
3, MARK LOCATION OF EXTERIOR DAMAGE ON DIAGRAMS BELOW: 9, COMMENTS (If more space is neadad, sae altachad sheel)
on
Oe i, _[ ole LOE (E CME
a r 7 ' P40. DRIVER DAMAGE Clyes Bike
RIGHT SIDE LEFT soe FRONT REAR
INSPECTOR INITIAL bP ORIVER INITIAL
4. READY FOR Contract W.0. No. Jinspector Signature | DATE
OCCUPANCY “
CERTIFICATION Sa .
ADDRESS Ts | THA No:

2. OCCUPANT NAME

3, REPRESENTATIVE ACKNOWLEDGE CONDITION AS DESCRIBED ABOVE:

SIGNATURE & DATE (Contractor)

SIGNATURE & DATE (FEMA Rep.)

NAME (Contractor)
aceipt To/From (Print)

Loic birbat Iie os—~

ee ee, TolFram (Print)
Bs

Bato Rover

‘isda iFion smBPaD: i
ey . ee

SCURANT SIGNATURE (Move In ae ‘adie Bi, as
R1539 FORM 90-13 (TEST) JANUARY, 08,

| DATE

FEMA F

EXHIBIT
666

SHAW-WRI 00008

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 36 of 47

U.8. DEPARTMENT OF HOMELAND 8ECU Taife CONTROLNO. 2, WORK ORDER #
FEDERAL EMERGENCY MANAGEMENT AGENCY os $81 112005 022
TEMPORARY HOUSING UNIT INSPECTION REPORT
3. APPLIGANTISITE INFORMATION ‘
(awk, Flea, Middle butal THA No penser
(lous No. end Steet Name, orPad No) [BATE WORK ISSUED BY BATE SCH. COMPL.
November 20,2008 [JONNY GLAZE :
TTY AND STATE COUNTY eave LT comm CT 6 ONT TYPE 7. ORT NO.
ame 0) low a om B10 |
B.INSTALLATION
ITEM NO ITEMS TO FURNISH AND INSTALL unrr duanriry UNITS : TOTALS
LJ Bast Setup Each °
LI [4" Sewer Line, Abova Ground Foot
LJ {8" Sewer Line, Buried * Foot , :
LI [e" Sewer une, Buried Foot N
LJ Munidpal Sewer Actual 1 { \ U
LJ [94* Water Line Extansion, RV Hoas Foot
[J Tz" Water tine Extension, Buried Foot
LY _[Manllpst Water Actual j Jip Wb the
rT [Power Pols and Mater Loop, AMP Each { / 1 YF
LJ] [Additonal Towing Outside, Nila Radiua Mie .
LT |Heavy Equipment to Spot Ech aoa Il
CT |Wirterized Water Line Instalaton Foot Cyt
LT [Direct Wirhg of _... AMP Service, Over 66° Foot er wt
LT [Bre FW cach mk)
(J 130 AMP Wel Pump Switch Each mut
CJ Ramp (Per Entranca) Ewch 1
LI [iP Gas System and 100 Gaton P Each LlLaaaon<
_ LJ [Natural Gas Hookup Foot e
Gas Line Extension, Underground Each
LT {skring Each
LJ Permits Actual
LT [Steps (Por Enirarica) Fach
LT fi amp rv. recaptade Foot
J
DER TOTAL: *
9. PLOT PLANIDIRECTION/COMMENTS
Orivers Name: (r Ak. ly Pave Drivers Name, :
Drivers Ucense Number” YO / IFES Driver's License Number:
Tracking Company: & "Trucking Company:
Licaree Plate Number é License Plate Number
0, CERTIFICATIONS AND SIGNATURES - The above described wor fed, Inspected and pi with contract requirements
SIGNATURE APPLICANTS ASSISTONY SPECIALIST

] [/acloe
EXHIBIT
‘< 7 %9

SHAW-WRI 00024

d3i9vdsy

OF

SOOZ/TZILE

SNVITSO

VTSNVITYO MSN

N1SIONINAS SLEZ

786800

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 37 of 47

auvaA

. avd

: VIS "AUD

aN:

1st] (aaljag Jafe2) yg UEHRUUEW

EXHIBIT

°°”

SHAW-WRI 00025
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 38 of 47

;
Unit Delivery Ticket
Work Order # issue Date issued By Contractor
1603-0002-02591-IPR 11/2/2005 BELINDA BROWN Shaw
Site Information
Site Type “Commercial [7] Group (J Ess f¥/) Privete
Sito Control # SC-03-011544
Park Name of
APules” -
Street 2315 SEMINOLE LN beat os,
. us Hee
City NEW ORLEANS CE,
State LA
Zip 70125
County Orleans
Lot # (if applicable)
Site Directlons
init info tion
i) TT Unit # Barcode # VING ny ny
My" No oy. 40
Om T7124 Coee FF <
(PM :
Special Instructions
FEMA Signature if
DriversName TC bee, KR tduey Me OAR
{ f
gett whe fon tye A, .
Drivers Licence# > Crk ote (Ges t¥
poe
Trucking Company
. neg yo} 7 DR
LicensePiowe? OC ff Od & eeS
1144/2005 11:62:49 AM DR-1603-LA

“<Q”

SHAW-WRI 00026
Case 2:07-md- -
2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 39 of 47

; . a.

1 Veh propene tank is on ad the right tank i ff nd check fr 98 Turn left tank off and tum
the right tank on end check for leaks.
for lal pose are secure and Hight (oot Teak), ensure that presse NEE

2 iL Check that both ends of the
plies sn oa ee prevenier are
3 Make sure water is on before the hot water heater. —
Make so make sure unit (TT, ME) Soot is level in both dirsoons

4

5
for correct fall, 4{t. on comer supports, Stepping,
6&7 Check sewer we water is open (pulled out)-and black water is closed (pushed in) if #0

7s Check valves —
5 check breaker box and receptacte (20, 50 or 100 amp per plans). Make sure power supply cord is plugged
in and equipped with weatherproof “in-use” cover.
Y“ Check that steps comply with approved design -T maximum rte Ta he 2 widthand
1 & ADA compliance with plans — slope
andrail, For ramps che compliant ith andra on

ainted b
irface, palnied handrails, hard surface approach, etc. For platform eps
srr 9G" platforms, non-skyd surface, palnted handrails PX .
10 V/ SEE vit 1 x ropes Opsng a clesing a mak eal he ay we ONS

Check that RV battery is

13 that LP gas detector is glowing GREEN. [FRED = gas leak, get out and tum off the gas
i tert the water heater

15, Sturt the Wie demotors, CO detector, and gas detect a applicae

! P” Check fire extlt

Check the front bedroom. set top light, if applicable, to work by wall switch.
~ 18 7 pil electric outlets with circuit tester.

20 1 Turn on hot water at each faucet; make sure bot
2) pho cas under cach eink, Shower, and aronnd the bot wales Sot
move all packing material from oven. Light the oven pilot end each top

26 exhaust fans in bathroom and over stove.
2 v Check sofa bed for support bar, if applicsble

scissor }3 handle under sofs.
a ration. Set AIC at 78F, auto high or heat ot 65F in winter.

29 beat and A/C for proper ope
: Open all emergency exits to ensure they all open ProP=T-
3 Clean counter .

33S
J-lo-O©

DATE

EXHIBIT

“10”

SHAW-WRI 00010

Case 2:07-md- -
07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 40 of 47

Shaw’
Trailer Lease Check In List oo, .
where to pull biluds, light

VB) Walk through entire Trailer room to room. Show where closets are,
switches, let them Jook at whatever they want to check out in each room.
While you are doing the walk-through with the applicant, you will also do a move-in inspection.

<yfbiby sor where the breaker-box is located.
the cover. Also explain that, should they

MW 4) Show where the water heater is located and -how to open
they are to call maintenance.
moke detectors should

Open the cover and make sure they understand how the

ts and make sure they know how to operate it

Ask if they are familiar with an electric/gas range, if not explain how to operate it.

MBH su were the fire extinguisher
Wile go te tert br /
wows ow where the central beaV/air thermostat is located and make sure they know bow to operate it.
seperworkon the applances and ses tat iby keepit ina place where canbe cally .

ide, show them how to switch the propane tanks. Explain to them both
bat do not exchange the tanks.

ives on the bolding tanks on travel trailers.

£7142) Explain how to operate the val
4) Sit down and Jet the applicant(s) read the lease and the park rales (if applicable).
VE derstand all the “dos” and “don'ts”. Explain that simple maintenance procedures such
licant. Remind the applicant to

Make sure un
i bulbs, tightening screws, etc. should be done by app
i once a month (some units bave washable filters),

Vhs Have the applicant sign two copies of the park rules form (if applicable). One copy goes to the
i and one is retained for the file.

applic
ign the lease and give them the keys.

5) Have the applicant 5
6) Tell the applicant to call the Helpline and update information such as new mailing address and
Phone number, if applicable. -
wy Copies given to applicant (move-in inspection, lease, park roles (if applicable). .

ee | EXHIBIT

1 1”

Revised on 11/1805

SHAW-WRI 00009
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 41 of 47

2 I~.

hh
bother Wridld a She

Ready For Occupancy

, as tanks. son
. am ened ih mk Tum left one off and right one
toc

sure
heck for leaks.

the pas.
RY or GREEN =pas leak, et out and tam off
= ; » TERED =a and ght (not Yesking).

ees Aan is OP (pulled out) and black water is closed (pushed

Check _ make sure grey water is open :
we oe cord is plugged in.
pi Co reaker box and receptacle (30 amps). Make sure Bowes pe plu:
: t of steps are used (fold out, platform or wo0?).
Cece fo ee ing and closing, ‘and the keys are working. =.

f' ‘all electric ov .
to water ; make ot water coming
(Be om Bae react si ho ea around the hot water heater. stand
i material from oven-, Light the oven pil
ae joer take all tape and cardboard out of it. Make sure is secured.

J fresh water pump is off. | |
Wi Moke ann water into toilet.
Pe exh fan 0b

for support
on oe sofa bed for

issor j sofa.
ace scissor jack
uto high (seasonal).
[Baye exits to ensure they all open properly.

EXHIBIT

66 | 9”

Revised on 11/18/05

SHAW-WRI 00011
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 42 of 47

_ bee ee ee
.
2 ’

; {, Temporary Housing Unita. * 2

octal *
TY eRe Me
+, U8 OF ARTS or MANAGEMENT AGENCY . EBC lat 70a | Ao
TEMPORARY HOUSING UNTT INSPECTION REPORT, J . niin
3. TYPE OF INSPECTION A TYPE OF F = Wo, | & Hanctotturer
. ype Monufochser Mode = ORES! RVER.
‘Transport Dispatch ew. Oe we _ Fanece Dome Ct Wek Ah Ton
oa fC) 0 <mmt'trter | roe (A Ge Chee } A00le
Staging Q re Move | MET 1G 7 - ] ‘Tpibge FR notowg :
ba ; G 7 ° 3S :
ax - f  -MO Bywie BEDS
O LHandcop .. eee “a *
Ch vein
FURNISHINGS _ se [ps | ne
* Bothwoom Conti#ion
Comerte NV
f
# N
‘Curie 8.Rods N
Light Fogures_
—_Esuier Condon LN
‘tke Per Dot £
N
9
SeRTEH DAT 7
Roo! Vers __ —
bien Ex = : af

RM ScanT es Roe \ focd
peu T. aad
TOO

EXHIBIT

‘c l 3 99 SHAW-WRI 00007

Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 43 of 47

AFO DHOPS Master Expedite List 03/31/2006

WSPECTOR

22-4

avd g

NOLLOSdSNI 1SVT &

[CREAT
uopy

COMMENTS

LEASED WN 2/20/06

41

41

sce
&C-03-

041544 [14277021] 4

mp
New Orleans | 70126 Orteans Straw

ADDRESS

2316 Seminole Lane

SHIP OR HOTEL

SENSATIONS:

PHONE

(804) 701-8079

w
2
=z
be
on
eG
uw
w
=
2
4g
z
3
gE
a FF
&
DIO-NONT O19 $3
ugannncuoomy) = E

REDACTED

AFO DHOPS Master Expedite List 3-31-06 Final.sds

3
3

EXHIBIT

66 l 4”

SHAW-WRI 00029
“Case 2:07-md-01873-KDE-MBN— Document 10941-5 Filed 02/01/10 Page 44 of 47—

67000 IYM-MVHS

as.0vas4y -

—_
mtg
ein
os
wm»
[otal

ABI] UOT WOH JON fewi0N Leazisiy Prstic-co-os
soazet ro “fq20 opine pepedsuy 1
fo ARREST ICH TON Huon tesezziy rrOLo-Co-os @200-t0z (ros) WAGAOR “LHORIM NT SIONINAS StEz
\
, ¢
hho
i}
m4
\
+0 waqay eApoalion dmesg nescence = ae ee
aqephu0g von dk #29210 #0 e609 RE EMA “woloug pacg Sie °C ORS
parupos ($71.04) OZOL

ld FPP 9O/LE/B :U0 paid

yedey uol(suey eouRuE UE! Yas
-5 Filed 02/01/10 Page 45 of 47 —

Case 2:07-

“pooh eam

U1 MOU PUe YURS 6g IOP IDADD PUN JOAKD AMOS OAs,
Lot IGM O4 peat someon) BLN Jo UssISAG GEN AOU
OF a pawn } pus eYEINaD pinoa sef on es pases ety
Uo POU pire yur ey WEE LUOpUNT OpISLY PoxoeLD pit
4of89 O17 UO epreuy ue usa pure { otf 04 QoUy OY UO
Pewny pur 2 Adwe “UN oy) penpeyo | ‘syuNy sudaid
DUS LUI UL y98U OF UBM “ZL OUp HUN 0} 03 4 “2 04

Wun Yo} ty 370 Duyuany aceey ges ¥ yore! 24) Ub soeLuTy
417, UO Appare LUBA Ud BOOLITY MA UO PLE yo Lun
PANGS | OX yes LOX PU 2 JU put pus YO smans ai
00) | 02 Spe aug YO WOROK 819 UO sods w PEED,

J eepauy Z penas os Ave 2 ey] UY O3 Bpfs;no oY 40
queuqredurco © ¢ LUpIP ‘sepen sia Le eS OL hem eo
PUP] OF £ #1R PexDeYD pee pier | OF que] wet Aue pauls
30 Aue puy \upip “A UO pe] pat 1 gE PeHDeYD ‘esol;
#1) UO Senger 986 a7 yOeLp OF LOM AeTEPOURUN

PAE OUTALL Owed U1] HO PALLY my Hf “Ue @LLIDD

TUPINOVA 1] past @OpLIN; #171 UO PeLN} 4] PREY? puT
IePOULELR aig LO Om On HOUT DUE ¢ f J 1 PexpOY
Pare Joye J0 J0n00 917) 01 UA an 08 Uo Ange 0) FUE

$00e6 LEO LUD ‘TOE otn paxpoyo pum Jains Jo OppeLy WOM s1y Wun cay My 20 soMLuN ein pedauy FRULION Z-Bve8909 val to-e0os
“dn Buywowa a10jo9 po spree .
900z81/60 welR U0 BoitiOS COURUUTY StL) :payodal RL YA WAH Fuuon bereesoo ¥rSt LO-t0-OS 6109-402 (¥03) YM BINGO! “LHOWM NT 2 IONINAS STE
ad ORY @ARDELIOD uond1o90q, edkl RDO aun 8005 EG #NIA  s#euoydpEHOD eweN juedn2[Q, sseIppy PONG
:

s“panupyuod (gzbot) SZh04

0S000 IYM-MVHS

wd €Z:% SO/} E78 (U0 payuptd

- Hoday vopfsuns, soueuayujey yas
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 46 of 47

From: The Resource Foundation, tne. Teo: Global Solutions Page; 14 Cate: 5/48/2008 11:15:04 PM

Date: 03/18/2006 06: 06:19 PHS *(U Kestse Types, Call Center - Routine Maintenance
Ss ee as oe
Name: S05SIE RWRIGHT ~ | Sthe Control # 03-011544 . "  { Cammnunity: 70125
FEMA # _ Address: 2315 SEMINOLE LN
Phone: (504)701-6079 City: NEW ORLEANS Stabe: LA [zip Code: 70325
Phone 2: Parish .
Lae eh ee Sea Rees a
Work Description:
‘1: HVAC - FEMA Tenant reported: The furnance comes on then shuts off before warming up.
DED | CCC ASD HD HExP [WoC TDD CAD CCD “BFO 60

Bre tae eer Re SUCH eter
eae Waaca nga ctceadbaccalon

Se Cot or Notes: (fee, pl ee) fiat byt “ond Panne cere few oe
aed cur etecsl polnan te he Kncle sist Tren We rent pn ie meena novlc tee

Mie deer tit ool mired Franc dean fietorrett. ter we cull save tan no tent
[ew oe- Va bw wade sod Poaper dow th t- crtnt omtc vce Od Pt Gey inlesarhee
for mce Be Cet Bert beeel 0 ben on he Se Le ten ne Ob LEAMA Tr Gin I? Any gel
tk to Dent wird thee boned Fogel fy Bodo BMG A wing FE ek He tee'|

€ Me berler wt Bae be Com petncnet Om Hee SASL gy ee

4 V5 Breall We fey te ZT loce RL a face
on Me fh wru dé
[tv bees ove avot wewPrbwct. taeek Fem. es ne Fea

Le =e

a

ee ‘Technician Signe

Follow up Technician Signature * Date | Follow up TimaIn — | Follow up Time Out

EXHIBIT

6G l 6”

SHAW-WRI 00015
Case 2:07-md-01873-KDE-MBN Document 10941-5 Filed 02/01/10 Page 47 of 47

Tin Tarr d thay on he Petey. treat. creeted Paseo. emdahe f, Fe Sire

and dunce! y te reread oo ey
“ Ae. or: Gone levccle feed £
4s 6 Kent w rey hia Oe t Aiea, -
Loner e Vien oF te fie MAE He role tin. 0 at

wh eater gene on ey “eo

Fe wy he laid b a Sur

Pea,
y
»
.
-
Mee .
« ‘
: ae hy * o a a +
~ t :
t ¢ ces of Rey
easy “ <
‘3 ' 4 ‘, .
‘ ° ‘ oo x . ye
ve , : BRE oy
. \ 6
ost .
¢ 4 o writ
eon ve aN % wes
“7% oe ~ - ; '
hy .
, o ve
.
1 .
' +
wn :
wea Me
swe
Loe : .
Pa se s
La oe ae whe
£ .
. 5 '
we in
we
o .
. ”
Be ws pe
“*%
. “ - ~ os
1 . x
~
-

SHA W-WRI 00016
